EXHIBIT “A”
                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

                                CASE NO.: 6:20-cv-00967-WWB-EJK

JEFFREY STEINBERG,

                   Plaintiff,

         vs.

VEMO EDUCATION, INC., A
DELAWARE CORPORATION,

                   Defendant.

                                                /

                        STIPULATED CONFIDENTIALITY AGREEMENT

         Plaintiff, Jeffrey Steinberg, and Defendant, Vemo Education, Inc. (“Vemo”) (collectively,

the “Parties”), have stipulated and agreed to be bound by the terms of this Stipulated

Confidentiality Agreement governing the disclosure and handling of privileged and confidential

information.

         WHEREAS, the Parties agree that certain documents pertaining to this litigation shall be

protected so as to preserve the confidentiality of commercially sensitive, confidential, competitive

and/or proprietary information contained therein;

         WHEREAS, the Parties have agreed that these proceedings may involve the discovery and

use of confidential, non-public, health and medical information, as well as sensitive, or proprietary

business, employment, financial documents, and other materials;

         WHEREAS, the Parties agree to produce, file, or disclose such documents only on the

agreement that such confidential information, including confidential and proprietary human

resource or business information, financial records of the Parties, compensation of Defendant’s


4817-6821-0629.1                                    1
current or former personnel, Defendant’s confidential client and vendor names and information ,

current or former employees’ workers’ compensation files, compensation policies, organizationa l

structure, training programs, hiring criteria, employee handbooks, and security protocols,

“Personal Information” including current and former employee and patient                social security

information, dates of birth, personal banking information, medical information, and corporate trade

secrets, including development data, pricing formulas, budgeting forecasts, prospective inventory

management programs, and confidential business information will be disclosed only as provided

herein;

          WHEREAS, the Parties have agreed to stipulate to protect certain confidential and

otherwise protected documents, data (including electronically stored information) and other

information, against claims of waiver and inadvertent production in the event they are produced,

disclosed, or filed in connection with this action whether in state court, federal court, or arbitration;

          WHEREAS, the Parties may be required to produce large volumes of documents, the

Parties wish to comply with discovery deadlines and complete discovery as expeditiously as

possible, while preserving and without waiving any evidentiary protections or privileges

applicable to the information contained in the documents produced, including as against third

parties and other proceedings, and in addition to their agreement, need the additional protections

of a court- and arbitral-order;

          WHEREAS, in order to comply with applicable discovery deadlines, a party may be

required to produce certain categories of documents that have been subject to minimal or no

attorney review. This Order is designed to foreclose any arguments that by making such

disclosures, the disclosure or production of documents subject to a legally recognized claim of




4817-6821-0629.1                                    2
privilege, including without limitation the attorney-client privilege, work-product doctrine,

constitutional privacy rights of individuals, and/or other applicable privilege:

              a. Was not inadvertent by the Producing Party;

              b. That the Producing Party did not take reasonable steps to prevent the disclosure of
                 privileged Documents;

              c. That the Producing Party did not take reasonable or timely steps to rectify such
                 Disclosure; and/or

              d. That such disclosure acts as a waiver of applicable privileges or protections
                 associated with such documents.

         WHEREAS, because the purpose of this Stipulation is to protect and preserve privileged

and Confidential Documents and/or Trade Secrets, the Parties agree they are bound by the terms

of this Stipulated Confidential Order after it is executed by their respective counsel, even if such

execution occurs without and/or before the approval of a court and/or arbitrator.

         THEREFORE, the Parties hereby stipulate to seek the entry of an Order governing the

disclosure of documents and information containing “Confidential information,” “Personal

Information,” and “Trade Secrets” under the terms set forth herein, as well as an Order governing

the return of inadvertently produced documents and data and affording them the protections of

Federal Rule of Evidence 502 (d) and (e), as well as any associated and applicable arbitration rule,

pursuant to the terms and conditions set forth herein.

         IT IS HEREBY STIPULATED AND AGREED THAT:

         1            The Protective Order shall be entered pursuant to the Federal Rules of Civil

Procedure, Federal Rule of Evidence 502 (d) and (e), and any associated and applicable arbitration

rule.

         2.        This Confidentiality Order governs the handling of “documents,” “informatio n,”

and “items of information” (as defined below) deemed “Confidential” produced, filed, and/or


4817-6821-0629.1                                  3
exchanged in any manner in connection with this arbitration and any related pending court

litigation proceedings (whether stayed or not).

         3.        Confidential documents shall include, without limitation, the following:

              a. Documents referring or related to confidential and proprietary human resources or
                   business information; financial records of the Parties; Defendant’s confidential
                   client and vendor names and information, compensation of Defendant’s current or
                   former personnel; policies, procedures or training materials of Defendant; or
                   Defendant’s organizational structure; training programs, hiring criteria, employee
                   handbooks, ethics and security protocols;

              b. Documents from the personnel file of any current or former employee of Defendant
                   and/or contractor, including internal investigative files;

              c. Documents containing or relating medical or health information of any of
                   Defendant’s current or former employees and/or contractors;

              d. Documents containing or relating to the medical or health information of any of
                   Defendant’s current or former employees and/or contractors;

              e. Any portions of depositions (audio or video) where Confidential information is
                   disclosed or used as exhibits.

         4.        Counsel for a Party (or Parties) in the case receiving information designated as

“Confidential” shall treat the information as Confidential as described below, unless the

designation was successfully challenged by obtaining an order from the Arbitrator or, as

applicable, Court determining that the information is not “Confidential” within the meaning of this

Order.

         5.        “Confidential Information” as defined herein shall not be disclosed, made

available, or communicated to any person not listed below. “Confidential information” can only

be disclosed to the following persons identified below:

4817-6821-0629.1                                      4
              a.   The Parties in this case, as defined herein;

              b. The Arbitrator or Court and appropriate arbitrator or court personnel;

              c. Counsel for each Party including members of the legal, paralegal, secretarial or
                   clerical staff of such counsel;

              d. In-house counsel for Defendant and the secretarial, clerical, and paralegal staff of
                   each, as well as members of Defendant’s management and HR staff;

              e. Any person who was either an author or recipient of the information in question
                   prior to the intended disclosure in this case;

              f. Any witness at an interview, trial, hearing or deposition in this matter, or in
                   preparation therefore, where the disclosing counsel believes, in good faith, that
                   showing the information to the witness will assist said counsel in the prosecution
                   or defense of the claims in the case;

              g. Independent consultants, accountants and/or experts retained by any Party for
                   assistance in the prosecution or defense of claims in the case;

              h. Private arbitrators and mediators involved in resolving disputes over claims in the
                   action; and

              i.   Litigation support personnel actively involved in the case, including information
                   technology     personnel,    e-discovery    vendors,   arbitration/court   reporters,
                   arbitration/court videographers, and copy vendors.

         6.        Any person to whom delivery, exhibition or disclosure of any such designated

“Confidential” information is made shall be given a copy of this Order and shall be bound by it.

Further, pursuant to this Order, all persons to whom counsel discloses such “Confidential”

information pursuant to Paragraph 6 will not disclose the documents or information to any person

not authorized to receive it pursuant to this Order, and furthermore, shall not use the “Confidential”


4817-6821-0629.1                                      5
documents or information for any purpose not directly connected with the preparation for the trial

or settlement of the case.

         7.        The designation of documents or information as “Confidential” may be made by

placing or affixing to every page containing the confidential information in question (without

interfering with the legibility thereof), the legend “CONFIDENTIAL.” Any page of a document

so designated, and the information contained on such page shall be deemed to be “Confidential”

and, therefore, protected under the terms of this Order unless the person designating the material

as “Confidential” clearly indicates thereon that only a portion of the page or documents is to be

treated as confidential or unless the designation was successfully challenged by obtaining an Order

from the Arbitrator (or, as applicable, Court) determining confidentiality within the meaning of

this Order.

         8.        Any person in possession of designated “Confidential” documents or information

shall comply with the provisions of this Order.

         9.        If counsel for either Party (or Parties) intends to show or reveal to a person not

described in Paragraph 6 any information contained in documents which are “Confidential”

hereunder, or intends to file “Confidential” information in or with the Arbitrator (or, as applicable,

Court), then counsel shall contact opposing counsel to seek advance permission for such disclosure

or filing. Counsel will attempt in good faith to work with one another to resolve any differences.

If counsel for the parties cannot reach agreement on the proposed disclosure or filing, then counsel

shall present the matter to the arbitrator presiding over the matter.

         10.       Upon final termination of the case, all documents and other “Confidential”

information including any copies thereof, shall be returned to or destroyed at the option of the

persons providing such information (and each person to whom such information has been



4817-6821-0629.1                                    6
furnished or produced shall be obligated to return or destroy same, including all copies, at the

request of the person providing such information). Within a reasonable period following the

conclusion of all proceedings in the case, counsel for any Party shall, at the request of counsel for

the opposing Party, certify that the terms of this paragraph have been fully complied with.

         11.       To the extent counsel for any Party desires to use information designated as

“Confidential” in open arbitration proceedings (or, as applicable, court proceedings) or in a filing

in this case, counsel will contact counsel for the opposing Party in a good faith attempt to work

with each other to determine a mutually acceptable method of preserving the confidentiality of

such “Confidential” information without unduly constraining its use in this action. If counsel for

the Parties cannot reach agreement on the proposed use, then counsel shall present the matter to

the Arbitrator (or, as applicable, Court) where the case is pending for further resolution. Any filing

of designated “Confidential” information must be filed under seal and only made available to

qualified recipients.     The foregoing requirement to seal documents containing “Confidential”

information pertains to documents already filed with a            Court or arbitrator of competent

jurisdiction.

         12.       The termination of this action shall not relieve the parties and persons obligated

hereunder from their responsibility to maintain the confidentiality of information designated

Confidential pursuant to the Order. Once executed by all Parties, the Stipulation shall be by treated

by the Parties as an Order of Arbitrator (or, as applicable, Court) until it is formally approved by

the Arbitrator (or, as applicable, Court).

         13.       Upon termination of this action by entry of a final judgment (inclusive of any

appeals or petitions for review), the Parties may request the return of all previously furnished

Confidential information, including any copies thereof, and each person or party to whom such



4817-6821-0629.1                                    7
Confidential information has been furnished or produced shall be obligated to return it within thirty

(30) days of said request.

         14.        By with this Stipulation, the Parties agree to protect privileged and otherwise

protected Documents against claims of waiver (including as against third parties and in other

federal and state proceedings) as follows:

               a.   The disclosure or production of Documents by a Producing Party subject to a

                    legally recognized claim of privilege, including without limitation the attorney-

                    client privilege and the work-product doctrine, to a Receiving Party, shall in no way

                    constitute the voluntary disclosure of such Document.

               b. The disclosure or production of any Document in this action shall not result in the

                    waiver of any privilege, evidentiary protection or other protection associated with

                    such Document as to the Receiving Party or any third parties, and shall not result

                    in any waiver, including subject matter waiver, of any kind, irrespective of whether

                    such disclosure preceded the Parties’ execution of this Stipulation.

               c. If, during the course of this litigation, a party determines that any Document

                    produced or filed by another party is or may reasonably be subject to a legally

                    recognizable privilege or evidentiary protection (“Protected Document”):

                        i. the Receiving Party shall: (A) refrain from reading the Protected Document
                           any more closely than is necessary to ascertain that it is privileged or
                           otherwise protected from disclosure; (B) immediately notify the Producing
                           Party in writing that it has discovered Documents believed to be privileged
                           or protected; (C) specifically identify the Protected Documents by Bates
                           number range or hash value, and, (D) within ten (10) days of discovery by
                           the Receiving Party, return, sequester, or destroy all copies of such
                           Protected Documents, along with any notes, abstracts or compilations of the
                           content thereof. To the extent that a Protected Document has been loaded
                           into a litigation review database under the control of the Receiving Party,
                           the Receiving Party shall have all electronic copies of the Protected
                           Document extracted from the database. Where such Protected Documents


4817-6821-0629.1                                      8
                          cannot be destroyed or separated, they shall not be reviewed, disclosed, or
                          otherwise used by the Receiving Party. Notwithstanding, the Receiving
                          Party is under no obligation to search or review the Producing Party’s
                          Documents to identify potentially privileged or work product Protected
                          Documents.
                      ii. If the Producing Party intends to assert a claim of privilege or other
                          protection over Documents identified by the Receiving Party as Protected
                          Documents, the Producing Party will, within ten (10) days of receiving the
                          Receiving Party’s written notification described above, inform the
                          Receiving Party of such intention in writing and shall provide the Receiving
                          Party with a log for such Protected Documents that is consistent with the
                          requirements of the Federal Rules of Civil Procedure, setting forth the basis
                          for the claim of privilege or other protection. In the event that any portion
                          of a Protected Document does not contain privileged or protected
                          information, the Producing Party shall also provide to the Receiving Party
                          a redacted copy of the document that omits the information that the
                          Producing Party believes is subject to a claim of privilege or other
                          protection.

              d. If, during the course of this litigation, a party determines it has produced or filed a
                   Protected Document:
                      i. The Producing Party may notify the Receiving Party of such inadvertent
                         production in writing, and demand the return of such documents. Such
                         notice shall be in writing; however, it may be delivered orally on the record
                         at a deposition, promptly followed up in writing. The Producing Party’s
                         written notice will identify the Protected Document inadvertently produced
                         by bates number range or hash value, the privilege or protection claimed,
                         and the basis for the assertion of the privilege and shall provide the
                         Receiving Party with a log for such Protected Documents that is consistent
                         with the requirements of the Federal Rules of Civil Procedure or any
                         applicable arbitration rules or procedures, setting forth the basis for the
                         claim of privilege or other protection. In the event that any portion of the
                         Protected Document does not contain privileged or protected information,
                         the Producing Party shall also provide to the Receiving Party a redacted
                         copy of the Document that omits the information that the Producing Party
                         believes is subject to a claim of privilege or other protection.
                      ii. The Receiving Party must, within ten (10) days of receiving the Producing
                          Party’s written notification described above, return, sequester, or destroy
                          the Protected Document and any copies, along with any notes, abstracts or
                          compilations of the content thereof. To the extent that a Protected
                          Document has been loaded into a litigation review database under the
                          control of the Receiving Party, the Receiving Party shall have all electronic
                          copies of the Protected Document extracted from the database.



4817-6821-0629.1                                    9
               e. To the extent that the information contained in a Protected Document or other
                   Confidential information has already been filed or has already been used in or
                   described in other documents generated or maintained by the Receiving Party prior
                   to the date of receipt of written notice by the Producing Party as set forth in
                   paragraphs (c)(ii) and d(i), then the Parties and/or the Receiving Party shall
                   sequester such documents until the claim has been resolved. If either party has
                   disclosed and/or filed the Protected Document or other Confidential information
                   before being notified of its inadvertent production or prior to the material being
                   designated as Confidential, it must take reasonable steps to retrieve, redact, and/or
                   seal it.

                        i. Nothing contained herein is intended to, or shall serve to limit a party’s right
                           to conduct a review of documents, data (including electronically stored
                           information) and other information, including without limitation, metadata,
                           for relevance, responsiveness or the segregation of privileged or protected
                           information before such information is produced to another party.
                       ii. By operation of the Parties’ agreement and Arbitrator (or, as applicable,
                           Court) Order, the Parties are specifically afforded the protections of FRE
                           502 (d) and (e) and any applicable arbitration rule.

         15.       Subject to the Rules of Evidence, a stamped Confidential document and other

Confidential Information may be offered in evidence at trial or any arbitration or court hearing,

provided that the proponent of the evidence gives five days’ advance notice to counsel for the party

or other person that designated the information as Confidential.

         16.       Any party may request the entry of an Order from the Court and/or Arbitrator

requesting evidence be received and reviewed in camera or under other conditions to prevent

unnecessary disclosure. The Court and/or Arbitrator will then determine whether the proffered

evidence should continue to be treated as Confidential Information and, if so, what protection, if

any, may be afforded to such information at the trial.

         17.       If another court, arbitral body, or an administrative agency subpoenas or orders

production of stamped Confidential documents which a party has obtained under the terms of the

4817-6821-0629.1                                      10
Order, such party shall promptly notify the party or other person who designated the document as

Confidential of the pendency of such subpoena or order.

         18.       All information produced in this action, whether deemed Confidential or not, shall

be used only for purposes of this litigation and/or arbitration and not for any other purpose.

         19.       Nothing in the Order shall be construed as an admission as to the relevance,

authenticity, foundation or admissibility of any document, material, transcript, or other

information. And nothing in the Order shall be deemed to preclude any party from seeking and

obtaining, on an appropriate showing, a modification of the Order.

         20.       Once executed by the Parties, or counsel for the Parties, the Stipulation shall

be treated by the Parties as an Order of Arbitrator (or, as applicable, Court) until it is

formally approved by the Arbitrator (or, as applicable, Court).



Dated: October 8, 2020                               Respectfully Submitted,


 Morgan & Morgan, P.A.                               LEWIS B RIS BOIS B ISGAARD & SMITH LLP
 20 N. Orange Ave., 14th Floor                       110 SE 6th Street, Suite 2600
 P.O. Box 4979                                       Fort Lauderdale, Florida 33301
 Orlando, Florida 32802                              T: (954) 728-1280
 T: (407) 418-2069                                   F: (954) 728-1282
 F: (407) 245-340I
                                                     /s/ Jonathan A. Beckerman
 /s/ C. Ryan Morgan                                  Jonathan A. Beckerman (FBN 568252)
 C. Ryan Morgan (FBN 0015527)                        Jonathan.Beckerman@lewisbrisbois.com
 RMorgan@forthepeople.com                            Miguel A. Morel, Esq. (FBN 89163)
                                                     Miguel.Morel@lewisbrisbois.com
 Counsel for Plaintiff                               Christopher T. Perré (FBN 123902)
                                                     Christopher.Perre@lewisbrisbois.com

                                                     Counsel for Defendant




4817-6821-0629.1                                   11
